 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 1 of 8

& vow

IN THE EIGHTEENTH JUDICIAL DISTRICT
DISTRICT COURT, SEDGWICK COUNTY, KANSAS

 

CIVIL DEPARTMENT

ELIZABETH EASTES, )

Plaintiff, ) .

)

Vs Case No, 14072939
SEQUEL OF KANSAS, LLC d/b/a )
RIVERSIDE ACADEMY, )

Defendant, )

. ) SPS BY ATTORNEY

Pursuant To K.8.A, Chapter 60 7

To: Sequel of Kansas, LLC d/b/a
Riverside Academy
2050 W. 11" St. North
Wichita, KS 67203

A, lawsuit has been commenced against you,

Within thirty (21) days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff'an answer to the attached petition or a motion under K.S.A. 60-212. The answer or motion must be
served on the plaintiff's attorney or the plaintiff if plaintiff has no attorney, at the following address:

Aaron J, Good

Klenda Austerman LLC
301 N. Main, Suite 1600
Wichita, KS 67202-4816

Ifyou fail to file an answer or motion as described above, judgment by default will be entered against you for the
relief demanded in the Petition. You also must file your answer or motion with the coutt,

If you file an answer, any related claim which you may have against the plaintiff must be stated as a counter-

claim in your answer, If you fail to do so you will thereafter be barred from making such claim in any other action.

Dated OCT 2.2 2014 2014

 

  

 

 

 

 
 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 2 of 8

RETURN ON SERVICE OF SUMMONS

Thereby certify that I served a copy of this summons and a copy of the petition, to Defendant Sequel of
Kansas, LLC d/b/a Riverside Academy , in the following manner,
own. l) Personal Service~on the day of , 2014, by delivering or offering to
deliver the documents to the above-named person;

(2) Residence Service~onthe _dayof _——— __..» 2014, by leaving the documents

at the dwelling or usual place of abode of the above-named person, with some person of suitable age and
discretion who resides there:

cnt) Residence Service ~ on the day of ,

sfevopmnanaantinapaenn maaan

__.» 2014, by leaving a copy of the
documents at the dwelling or usual place of abode of the above-named person and mailing to that person by
first-class mail a notice that the copy has been left at the individual’s dwelling or place of abode;
wututmmnAt) Return Receipt Delivery —by causing to be delivered on the day of _ oa
2014, the documents by return receipt delivery to the above-named person at the following
address: . 1 tnt . with delivery being made
by the following person or entity: ene . A-copy of the return receipt
evidencing delivery is attached to this Return of Service,

umd) Return Receipt Delivery Refused — by mailing on the dayof_ , 2014, the
documents by first-class, postage prepaid, to the above-named person at the following

address:

 

cu nf5) Other Method of Service -

 

 

(7) No Service, The above-named person was not served for the following

reason(s)i_

 

 

 
 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 3 of 8

f

AFFIDAVIT OF SERVICE,

STATE OF KANSAS )
Sst

~~ NY

COUNTY OF __ .

es , Swear or affirm that the foregoing Return on Service
of Summons is true and correct,

Executed on , 2014,

 

Subscribed and sworn to before me this day of _ _. , 2014,

 

Notary Public

 

 

 

 
 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 4 of 8

 

Aaron J, Good, #25067 MEEEK OF DIST Conny
KLENDA AUSTERMAN LLC TERIAL Dis Tite 3
1600 Epic Center, 301 N. Main PET te
Wichita, KS 67202 omer

(316) 267-0331 Telephone
(316) 267-0333 Facsimile
agood@klendalaw,com

IN THE EIGHTEENTH JUDICIAL DISTRICT
DISTRICT COURT, SEDGWICK COUNTY, KANSAS
CIVIL DEPARTMENT

 

 

ELIZABETH LASTES, )
Plaintiff, )
) 2939
Ve ) Case No. 1 4 C V
)
SEQUEL OF KANSAS, LLC d/b/a d).
RIVERSIDE ACADEMY, )
Defendant. )
Pursuant To K.S.A. Chapter 60 —-
PETITION

COMES NOW Plaintiff, Elizabeth Eastes, by and through her counsel of record, Aaron J,
Good of Klenda Austerman LLC, and for her cause of action against Defendant Sequel of Kansas,
LLC d/b/a Riverside Academy alleges and states as follows:

1. Plaintiff Elizabeth Eastes is a resident of the State of Kansas,

2, Defendant Sequel of Kansas, LLC d/b/a Riverside Academy (“Riverside”) is a
Delaware corporation authorized to do business in the State of Kansas, and may be served with
process at 2050 W, 11" St, North, Wichita, Kansas 67203, or at 1131 Hagletree Lane, Huntsville,
Alabama 35801,

3, This Court has jurisdiction to hear these claims,
2288477

-{-

 

 

 
Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 5 of 8

4, Venue is proper in this Court as the acts eiving rise to Plaintiff's claims occurred in
Sedgwick County, Kansas,

5, Riverside operates a residential treatment facility in Wichita, Kansas providing
psychiatric treatment for boys and girls, ages 6 and older, with a variety of mental health disorders,
including behavioral disorders and/or drug and aleohol dependence, or abuse and developmental
delays,

6. On or about July 31, 2013, Riverside hired Plaintiff as a part-time, non-exempt
Human Resources Director, paying her an hourly wage of $16.83.

7, Sometime before September 29, 2013, Riverside offered Plaintift a “full time,
exempt” HR Director position,

8, Riverside provided Plaintiff a position summary listing the essential roles and
functions of the “exempt” HR. Director position,

9, The “full time, exempt” HR Director position Riverside offered Plaintiff paid a bi-
weekly salary of $1,346.15.

10. This bieweeldy salary amounts to slightly less pay than Plaintiff would have earned
working two consecutive forty hour weeks as a non-exempt enyployee at her hourly wage of $16.83.

11,  Plaintiffaccepted Riverside’s offer of the “full time, exempt” HR Director position,
and on or about September 29, 2013, began working in the position.

12, Plaintiff quickly realized that the HR Director Position Summary provided by
Riverside bore little resemblance to the duties Riverside actually required she perform.

13. Plaintiff found herself working a minimum of seventy (70) hours a week, mostly as a
receptionist.

14, Plaintiff spent approximately 90% of her time performing receptionist and clerical

2288477

 

 

 

 
 

 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 6 of 8

duties, such as: answering phones; greeting visitors; situating visitors in meeting rooms; dispersing,
recording, and filing training materials; and organizing dates and times of orientations,

15. These tasks consumed the vast majority of Plaintiffs working hours, and did not
require she exercise her discretion or independent judgment,

16, Plaintiffs primary duties did not relate to the management or general business
operations of Riverside.

17,  Plaintiffdid not supervise any employees during her time as an “exempt, full time”
HR. Director at Riverside.

18, When Riverside did require Plaintiff perform duties resembling those typically
associated with an HR Director, Riverside removed all decision making authority from Plaintiff to
the extent that she held a meaningless title,

19, Riverside ignored Plaintiff's proposed policy changes.

20, When Plaintiff would enact a proposed policy change, Riverside would re-write the
policy and return it to her for implementation. ,

21. Riverside did not allow Plaintiff to utilize her discretion and independent judgment as
to any matters of significance.

22. Riverside vested no authority in Plaintiff, as it required she send investigations,
complaints, and terminations to Riverside’s corporate HR department for evaluation,

23, Riverside corporate HR would review the files and decide how to proceed, and then
remand the file to Plaintiff to carry out its directions.

24, — Riverside did not allow Plaintiff to terminate employees without its prior approval.
25.  Plaintiffremained in this “full time, exempt” position until on or about February 23,

2014,

2288477

 

 

 
 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 7 of 8

26, Onorabout February 23, 2014, Plaintiff requested Riverside transfer her to a “non-
exempt” position paid at an hourly rate.

27, Riverside transferred Plaintiff from a “full-time exempt Human Resources Director”
to “full-time non-exempt Human Resources Director” without any accompanying change in her role
or responsibilities,

28, In total, Plaintiff worked twenty three (23) weeks for Riverside as a “full time,
exempt” HR Director.

29,  Duting that time, Plaintiff worked at least seventy (70) hours per week,

30, During this time, Plaintiff accrued twenty one (21) days — or 168 hours ~ of paid

vacation time that Riverside has failed to pay,

 

31. — Plaintiff incorporates all other allegations of her Petition, and further alleges:

32. Despite Riverside’s classification of Plaintiff as an exempt employee, Plaintiff's
duties and responsibilities, as well as Riverside’s refusal to allow her to exercise discretion and
independent judgment, clearly show she did not qualify as an exempt employee under the Fair Labor
Standards Act (“FLSA”)

33. Pursuant to the FLSA, Plaintiffis entitled to compensation at a rate not less than one
and one-half times her regular hourly wage for all hours worked in excess of forty (40) hours per
week from September 29, 2013 through February 23, 2014.

34. Pursuant to the FLSA, Plaintiff is entitled to compensation for her unutilized paid
vacation accrued while working at Riverside,

35, Pursuant to the FLSA, Plaintiff is entitled to liquidated damages due to Riverside’s

failure to pay as required by the law.

2298477

 

 

 
 

Case 6:14-cv-01375-GLR Document 1-1 Filed 11/13/14 Page 8 of 8

36, Pursuant to the FLSA, Plaintiff is entitled to her reasonable attorney fees,

WHEREFORE, for the foregoing reasons, Plaintiff Elizabeth Eastes respectfully requests
the Court enter judgment in her favor, and against Defendant Sequel of Kansas, LLC d/b/a Riverside
Academy, for unpaid overtime wages in the amount of $15,907,50; for unutilized paid vacation time
in the amount of $2,827.44; for liquidated damages in an amount equal to her unpaid compensation
as set forth above ($18,734.94); pre-judgment and post-judgment interest; costs; her reasonable
attorney’s fees; and for such further relief the Court deems just and equitable.

KLENDA AUSTERMAN LLLGr

     

Aaron J. Good, #25067 :
1600 Epic Center, 301 North Main :
Wichita, Kansas 67202-4816
(316) 267-0331

(316) 267-0333 Facsimile

agood@klendalaw.com
Attorneys for Plaintiff Elizabeth Eastes

 

DEMAND FOR JO

 

COMES NOW, the Plaintiff, and respectfully demands a trial by a jury of twelve (12)

persons on all matters in controversy in the above-captioned matter.

 

2288477

 

 

 
